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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

FRANCIS SCHAEFFER COX,                     §
                                           §
        Plaintiff,                         §
                                           §
v.                                         §   Civil Action No. 3:18-cv-03367-B
                                           §
BENBELLA BOOKS, INC. AND                   §
WILLIAM FULTON,                            §
                                           §
        Defendants.                        §

                     DEFENDANT’S MOTION TO DISMISS PURSUANT TO
                        TEX. CIV. PRAC. & REM. CODE § 27.001 et seq.
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            COMES NOW, Defendant BenBella Books, Inc. (“BenBella”) and files its Motion to

Dismiss Pursuant to Texas Civil Practices and Remedies Code § 27.001, et seq. (“the Motion”).

In support, BenBella would respectfully show this Court as follows:

                               I.    SUMMARY OF THE ARGUMENTS

            As demonstrated in Defendant’s Rule 12(b)(6) Motion to Dismiss [Doc. 10] (“BenBella’s

12(b)(6) Motion”), Plaintiff’s claims for defamation, intentional inflection of emotional distress,

and misappropriation of name, image, and likeness arise from Defendant’s book, The Blood of

Patriots: How I Took Down an Anti-Government Militia with Beer, Bounty Hunting, and

Badassery, 1 which accurately recounts how Plaintiff was arrested, tried, and convicted for

(among other criminal charges) conspiring to murder federal agents, including law enforcement

personnel, and state judges. Plaintiff’s claims are subject to dismissal under the Texas Citizens’

Participation Act (“TCPA”) because they implicate BenBella’s exercise of First Amendment

rights. 2

            There can be no question that BenBella was exercising its First Amendment rights in

publishing The Blood of Patriots, which concerned Plaintiff’s arrest, trial, and conviction. Thus,

any claim that arises from The Blood of Patriots is subject to early dismissal under the TCPA,

which shifts the burden to Plaintiff to submit “clear and specific” evidence to support each

essential element of his claim. 3           Plaintiff cannot meet this burden in connection with his

defamation claims against BenBella because: (1) the claims are time-barred by the applicable

statute of limitations; (2) the statements in The Blood of Patriots are privileged under Texas law


1
 See Doc. 10, Exh. 1, WILLIAM FULTON & JEANNE DEVON, THE BLOOD OF PATRIOTS: HOW I TOOK DOWN AN ANTI-
GOVERNMENT MILITIA WITH BEER, BOUNTY HUNTING, AND BADASSERY (2017) (hereinafter “The Blood of
Patriots”).
2
    See Tex. Civ. Prac. & Rem. Code § 27.005(b)(1).
3
    See id. at § 27.005(c).



                                                      1
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as a fair and true report of criminal proceedings; (3) Plaintiff cannot demonstrate that BenBella

published The Blood of Patriots with malice; (4) Plaintiff’s damages, if any, were caused by his

own criminal conduct, which occurred prior to the publication by BenBella; (5) Plaintiff is

estopped from bringing claims that would undermine his criminal convictions; and (6) Plaintiff’s

criminal history makes him libel-proof.

           Unlike Rule 12(b)(6), under the TCPA, Plaintiff cannot rely solely on his pleadings. He

must submit “clear and specific” evidence to support each essential element of his claims. 4

Because Plaintiff cannot satisfy this burden as to multiple elements of his claims, his claims must

be dismissed. Moreover, even assuming, arguendo, the TCPA is inapplicable to Plaintiff’s

Complaint, his claims fail under Federal Rule of Civil Procedure 12(b)(6). BenBella’s 12(b)(6)

Motion provides a separate and independent basis for dismissing the Complaint against BenBella

in its entirety.

                                      II.    BACKGROUND FACTS

           This motion is based on the same documents and factual background as BenBella’s

12(b)(6) Motion. As discussed in that motion, Plaintiff alleges defamation, defamation by

implication, defamation per se, intentional infliction of emotional distress, and misappropriation

of name or likeness against Defendants William Fulton (“Fulton”)—an undercover informant in

the FBI investigation which led to Plaintiff’s arrest and multiple criminal convictions 5 who later

authored The Blood of Patriots based on his personal knowledge of those events—and BenBella,

4
    Tex. Civ. Prac. & Rem. Code § 27.005(c); In re Lipsky, 460 S.W.3d 579, 587 (Tex. 2015).
5
  After a trial by a jury of his peers, Plaintiff was found guilty and convicted of: (1) conspiracy to possess
unregistered silencers and destructive devices; (2) possession of unregistered silencers and destructive devices; (3)
possession of an unregistered silencer; (3) possession of an unregistered machine gun; (4) illegal possession of a
machine gun; (5) making of a silencer; (6) carrying firearms during a crime of violence; (7) possession of
unregistered destructive devices; and (8) conspiracy to murder an Officer of the United States; (9) solicitation to
murder an Officer of the United States. See Doc. 10, Exh. 4, Verdict Form, Doc. 432, Case No. 3:11-CR-00022-
RJD (D. Alaska, Jun. 8, 2012), App. at 316-319; Doc. 10, Exh. 5, Judgment in a Criminal Case, Doc. 561, Case No.
3:11-CR-00022-RJD (D. Alaska, Jan. 8, 2013) (Bryan, J.), App. at 321-22.



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the publisher of The Blood of Patriots. A complete copy of The Blood of Patriots is attached to

BenBella’s 12(b)(6) Motion and filed under seal. 6 In addition, the Verdict Form and Judgment

in a Criminal Case, which establishes that The Blood of Patriots is substantially true and

privileged, are attached to BenBella’s 12(b)(6) Motion. 7 As BenBella noted in its Rule 12(b)(6)

motion, this evidence is properly before the Court on a Rule 12(b)(6) motion. 8 It may also be

considered on a motion to dismiss under the TCPA. 9

                                             III.     ARGUMENT

A.          Legal Standards

            In addition to Rule 12(b)(6), the TCPA provides an independent basis for the dismissal of

Plaintiff’s claims against BenBella. The TCPA is an anti-SLAPP (strategic lawsuits against

public participation) statute that is designed to “encourage and safeguard the constitutional rights

of persons to . . . speak freely,” 10 by protecting them “from retaliatory lawsuits that seek to

intimidate or silence them on matters of public concern.” 11               “Matters of public concern”

includes, inter alia, issues related to “health or safety,” “community well-being,” “the

government,” or “a public official or public figure.” 12 The TCPA also protects the right to

petition, which includes communications pertaining to judicial proceedings. 13




6
    See Doc. 13, Order Granting Motion to File Under Seal.
7
    See Doc. 10, Exh. 4; Doc. 10, Exh. 5.
8
    See Doc. 10 at n. 17.
9
  See Tex. Civ. Prac. & Rem. Code § 27.006(a) (court shall consider pleadings and evidence); In re Lipsky, 460
S.W.3d 579, 590-91 (Tex. 2015) (court must consider pleadings and evidence in analyzing a TCPA motion).
10
     See Tex. Civ. Prac. & Rem. Code § 27.002.
11
     Lipsky, 460 S.W.3d at 586 (Tex. 2015) (internal citation omitted).
12
     See Tex. Civ. Prac. & Rem. Code § 27.001(7).
13
     See id. at § 27.001(4)(A)(i).



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            The TCPA sets out a two-step inquiry when a party moves to dismiss. 14 First, the

defendant must show that a plaintiff’s claim “is based on, relating to, or in response to” the

movant’s “exercise of the right of free speech; right to petition; or right of association.” 15 The

court can and should consider the Complaint as evidence that the TCPA applies. 16

            If the defendant makes this showing, the burden shifts to the plaintiff to “establish[ ] by

clear and specific evidence a prima facie case for each essential element of the claim in

question.” 17 Plaintiff may do this thorough either direct or circumstantial evidence. 18 Even if

the plaintiff meets this burden, the court must still dismiss the claim if the defendant establishes

by a preponderance of the evidence each essential element of a valid defense. 19 Thus, unlike a

Rule 12(b)(6) motion, dismissal under the TCPA cannot be avoided merely by pleading facts.

Plaintiff must submit “clear and specific” evidence to support his claims, and movant BenBella

may submit its own evidence.

            Even if the plaintiff can meet this high burden, the claim nonetheless must be dismissed if

the defendant establishes each essential element of a valid defense by a preponderance of the

evidence. 20 Moreover, a dismissal under the TCPA comes with a mandatory attorneys’ fees

award plus possible sanctions. 21




14
     Cuba v. Pylant, 814 F.3d 701, 711 (5th Cir. 2016).
15
     Tex. Civ. Prac. & Rem. Code § 27.005(b).
16
  See Tex. Civ. Prac. & Rem. Code § 27.006(a); see also Guardian v. Robert Muller Family P’ship Ltd., No. 04–
13–00441–CV, 2014 WL 309776, *4 (Tex. App.—San Antonio, January 29, 2014, no pet.) (considering plaintiff’s
petition as evidence to determine statute applies and reversing denial of motion), disapproved of on other grounds
by Lipsky, 460 S.W.3d 579.
17
     Tex. Civ. Prac. & Rem. Code § 27.005(c).
18
     Lipsky, 460 S.W.3d 579.
19
     Tex. Civ. Prac. & Rem. Code § 27.005(d).
20
     Id.
21
     Id. at § (a).



                                                          4
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B.          The TCPA Applies to Texas State Claims Proceeding in Federal Court

            Under Erie Railroad Co. v. Tompkins and its progeny, federal district courts sitting in

diversity must apply the substantive law of the state in which the district court sits. 22 In

determining whether the state law is substantive or procedural, courts must analyze under Erie

whether applying state law would discourage forum-shopping and avoid the “inequitable

administration of the laws.” 23 When a valid Federal Rule of Civil Procedure governs an issue,

the application of state law is supplanted. 24 The test for federal rule displacement has two parts:

(1) whether a federal rule “answers the question in dispute”; 25 and (2) whether the federal rule is

valid. 26 Erie only governs when a federal rule does not apply or is invalid. 27 The federal rule

displacement question as it pertains to a TCPA motion in federal court is “whether Rules

12(b)(6) and 56 “attempt[ ] to answer the same question” 28 as the TCPA.

            1.        The Fifth Circuit Has Historically Assumed that the TCPA Applies to State
                      Law Claims in Diversity Cases

            The Fifth Circuit has not decided whether the TCPA is substantive or procedural, but it

has historically “assume[d]—without deciding—[that the TCPA] controls as state substantive

law in [ ] diversity suits.” 29 In 2009, the Fifth Circuit first addressed the issue of whether anti-


22
     See Hanna v. Plumer, 380 U.S. 460, 465 (1965); Erie R.R. v. Tompkins, 304 U.S. 64, 78 (1938).
23
     See Hanna, 380 U.S. at 468.
24
     See id. at 473
25
     Shady Grove Orthopedic Assocs. v. Allstate Ins., 559 U.S. 393, 398 (2010).
26
  See id. Valid means both valid as an exercise of the statutory authorization to create federal rules under the Rules
Enabling Act and valid as an exercise of Congress’s rulemaking power. In the Rules Enabling Act, Congress
authorized the Supreme Court to promulgate rules of procedure subject to its review, 28 U.S.C. § 2072(a), but with
the limitation that those rules “shall not abridge, enlarge or modify any substantive right.” 28 U.S.C § 2072(b).
27
     Henry v. Lake Charles Am. Press, 566 F.3d 164, 170 (5th Cir. 2009).
28
     See Shady Grove, 559 U.S. at 399.
29
  Cuba, 814 F.3d at 706; see also Diamond Consortium, Inc. v. Hammervold, 733 Fed. Appx. 151, 154 n.3 (5th Cir.
2018) (exercising jurisdiction over interlocutory appeal of state law conspiracy claim and assuming the TCPA
applies in federal court); Culbertson v. Lykos, 790 F.3d 608, 631 (5th Cir. 2015) (interlocutory appeal of denial of
TCPA motion on state law retaliation claim by U.S. District Court for the Southern District of Texas, exercising


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SLAPP statutes may be applied in federal court in Henry v. Lake Charles American Press,

holding Louisiana’s anti-SLAPP statute, Article 971, did apply. 30 In Cuba v. Pylant, the Fifth

Circuit assumed the TCPA applied in federal court and accepted jurisdiction of an interlocutory

appeal of the denial of a TCPA motion to dismiss Texas state law defamation claims by the U.S.

District Court for the Northern District of Texas, sitting in diversity. 31                     The Fifth Circuit

revisited the issue in Block v. Tanenhaus, finding: “[t]he applicability of state anti-SLAPP

statutes in federal court is an important and unresolved issue in this circuit.” 32 In Block, the

plaintiff argued that Louisiana’s anti-SLAPP statute is not applicable in federal court because it

is procedural and because, even if it is substantive, it is in direct collision with the Federal Rules

of Civil Procedure. 33 The court observed that the Fifth Circuit has repeatedly applied state anti-

SLAPP statutes in cases of diversity jurisdiction. 34 Block went on to apply Louisiana’s anti-

SLAPP statute to the defamation claim asserted by the plaintiff. As recently as May 2018, the

Fifth Circuit continued to opine that the application of the TCPA in federal court was an

unresolved issue but chose to “follow previous panels in assuming without deciding that Texas’s

anti-SLAPP statute applies in federal court.” 35




supplemental jurisdiction) (“We have not specifically held that the TCPA applies in federal court; at most we have
assumed without deciding its applicability.”) (citing NCDR, L.L.C. v. Mauze & Bagby, P.L.L.C., 745 F.3d 742, 753
(5th Cir. 2014); Lozovyy v. Kurtz, 813 F.3d 576, 582-83 (5th Cir. 2015) (in a diversity action, applying Louisiana’s
anti-SLAPP statute to state law defamation claims) (citing Henry, 566 F.3d at 170)).
30
     Henry, 566 F.3d at 170.
31
  Cuba, 814 F.3d at 706 (“As a general matter, this court has jurisdiction over an interlocutory appeal from an order
denying a TCPA motion to dismiss.”) (citing NCDR, 745 F.3d at 748); see also Culbertson, 790 F.3d at 631
(assuming the statute applied in federal court and accepted jurisdiction of an interlocutory appeal of the denial of a
TCPA motion by the U.S. District Court for the Southern District of Texas).
32
     Block v. Tanenhaus, 867 F.3d 585, n.2 (5th Cir. 2017).
33
     Id.
34
     Id. at 589.
35
     Diamond Consortium, 733 F. App'x at 154 n.3 (citing Culbertson, 790 F.3d at 631).



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               In sum, the Fifth Circuit has, in multiple opinions since 2009 36 and most recently, in May

2018, 37 assumed that anti-SLAPP statutes generally, and the TCPA specifically, applies to state

law claims proceeding in federal court at every opportunity, without stating that it does. 38

               2.     Federal District Courts in Texas Have Explicitly Held that the TCPA Applies
                      to State Law Claims in Diversity Cases

               Other federal courts in the Fifth Circuit have directly addressed the issue of whether the

TCPA applies in a federal court sitting in diversity, holding that it does and basing their analysis

on precedent in which the Fifth Circuit assumed application of state anti-SLAPP statutes in

diversity cases. Williams v. Cordillera Communications, Inc., a diversity action before the U.S.

District Court for the Southern District of Texas, is illustrative. In Williams, a high school

teacher, who had repeatedly been accused of improper behavior, filed claims of defamation and

defamation per se in response to a local television station’s investigative series about him. 39 The

defendant filed a motion under the TCPA, and the plaintiff responded arguing that the TCPA

does not apply in federal court. 40 The court conducted an Erie analysis, 41 determining that,

although there were procedural components to the TCPA, “these procedural features are

designed to prevent substantive consequences—the impairment of First Amendment rights and

the time and expense of defending against litigation that has no demonstrable merit under state




36
     See supra, n. 29 (collecting cases).
37
     See Diamond Consortium, 733 Fed. Appx. at 154 n.3.
38
   Id. (assuming the TCPA applies in federal court and the court has jurisdiction over an interlocutory TCPA
appeal); Cuba, 814 F.3d at 706 (“As a general matter, this court has jurisdiction over an interlocutory appeal from an
order denying a TCPA motion to dismiss.”); Culbertson, 790 F.3d at 631 (assuming the TCPA applies in federal
court and accepting jurisdiction of an interlocutory appeal of the denial of a TCPA motion by the U.S. District Court
for the Southern District of Texas).
39
     Williams v. Cordillera Comm., Inc., No. 2:13-CV-124, 2014 WL 2611746 at *2 (S.D. Tex. June 11, 2014).
40
     See id. at *1.
41
     See id.



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law.” 42 The court then looked to the Fifth Circuit’s Henry decision, in which Louisiana’s anti-

SLAPP law was applied, noting there are “no material differences between the Louisiana and

Texas anti-SLAPP statutes” for determining their applicability in a federal court case presiding

over state law claims. 43            The Eastern and Southern Districts of Texas have followed suit,

explicitly affirming that the TCPA applies to state law claims in a federal court exercising

diversity or supplemental jurisdiction. 44

           Similarly, the Northern District of Texas has applied the TCPA in diversity cases. 45 In

Klocke v. University of Texas at Arlington, Judge McBryde rejected the plaintiff’s argument that

the substance of the TCPA could not apply to his state law claims, and then dismissed the

plaintiff’s complaint pursuant to the TCPA. 46 As another example, in Charalambopoulos v.




42
     Id. (“The Court thus enforces the TCPA as it applies to this case.”).
43
     Id. at *2 (citing Henry, 566 F.3d at 164).
44
   Walker v. Beaumont Indep. Sch. Dist., No. 1:15-cv-0379, Doc. No. 178, at 4 (E.D. Tex. Feb. 11, 2016) (finding
that “the TCPA is enforceable in a federal court sitting in diversity jurisdiction.”), appeal filed No. 17-40752 (5th
Cir. July 16, 2015); La'Tiejira v. Facebook, Inc., No. H-16-2574, 2017 WL 3426039, at *1 (S.D. Tex. Aug. 7, 2017)
(“Although the TCPA is a state law, it applies to Texas law claims in a federal court sitting in diversity.”); Banik v.
Tamez, No. 7:16-CV-462, 2017 WL 1228498, at *2 (S.D. Tex. Apr. 4, 2017)(TCPA does not conflict with Federal
Rules of Civil Procedure 12 and 56, because TCPA “provides a mechanism for a defendant to move to dismiss a
claim on an entirely different basis [than Rules 12 and 56]: that the claims in question rest on the defendant’s
protected petitioning conduct and that the plaintiff cannot meet the special rules [Texas] has created to protect such
petitioning activity against lawsuits.”); but see Rudkin v. Roger Beasley Imports, Inc., A–17–CV–849–LY, 2017 WL
6622561 at *2 (W.D. Tex. Dec. 28, 2017) (holding TCPA is procedural and conflicts with the federal rules of civil
procedure in a case involving supplemental jurisdiction over state law claims).
45
  Klocke v. Univ. of Tex. at Arlington, No. 4:17-CV-285-A, 2017 WL 6767393, at *1, n.2 (N.D. Tex. July 25, 2017)
(McBryde, J.), appeal docketed, No. 17-11320 (5th. Cir. Nov. 8, 2017) (dismissing defamation claims pursuant to
the TCPA in a diversity action); Charalambopoulos v. Grammer, No. 3:14-CV-2424-D, 2015 WL 390664, at *28
(N.D. Tex. Jan. 29, 2015) (Fitzwater, J.); but see William Noble Rare Jewels, L.P. v. Sky Global L.L.C., No. 3:18-
CV-01566-N, 2019 WL 935954, at *2 (N.D. Tex. February 25, 2019) (Godbey, J) (denying TCPA motion on breach
of contract and tortious interference claims in diversity case on the basis that “even assuming that the TCPA is
substantive in nature, the law clearly conflicts with Rules 12(b)(6) and 56(a).”)
46
  Compare Klocke, 2017 WL 6767393, at *1, n.2 with Ins. Safety Consultants, LLC v. Nugent, No. 3:15-CV-2183-
B, 2016 WL 2958929, at *5 (N.D. Tex. May 23, 2016) (Boyle, J.) (in a case of federal question jurisdiction, holding
that the TCPA did not apply to the federal claims before the court because it conflicted with Federal Rules of Civil
Procedure 12 and 56).



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Grammer, Judge Fitzwater granted defendant’s TCPA motion as to several of the plaintiff’s

claims in a defamation suit arising from allegations of domestic violence. 47

C.         The TCPA Applies to Plaintiff’s Claims Against BenBella Because Those Claims
           Are Based on, Relate to, or are In Response to BenBella’s Exercise of Its Right to
           Free Speech

            As noted in BenBella’s Rule 12(b)(6) Motion, Plaintiff’s claims against BenBella are

based solely on the publication of The Blood of Patriots, which accurately recounts how

Plaintiff was arrested, tried, and convicted for (among other criminal charges) conspiring to

murder federal agents, including law enforcement personnel, and state judges. Accordingly,

Plaintiff’s claims clearly “relate to” BenBella’s “exercise of the right of free speech” within the

meaning of the TCPA. 48 In light of the fact that Plaintiff pleads defamation as a component of

his intentional inflection of emotional distress claim, and his misappropriation claim is also

based on the publication of The Blood of Patriots, those claims also “relate to” BenBella’s

“exercise of free speech.” 49 Thus, all of Plaintiff’s claims are subject to the TCPA.

           Under the TCPA, the “[e]xercise of the right of free speech” is statutorily defined as “a

communication made in connection with a matter of public concern.” 50 “Communication” is

defined as “the making or submitting of a statement or document in any form or medium,

including oral, visual, written, audiovisual, or electronic.” 51 “Matters of public concern” include

issues relating to: “environmental, economic or community well-being”; “the government”; “a


47
     See Charalambopoulos, 2015 WL 390664, at *28.
48
     Tex. Civ. Prac. & Rem. Code § 27.003(a).
49
   Id. at §§ 27.011(b) (TCPA “shall be construed liberally to effectuate its purpose and intent fully.”),
27.001(6)(“legal action” includes causes of action), 27.003(a) (statute may be used to dismiss individual causes of
action); see also Warner Bros. Entm’t, Inc. v. Jones, 538 S.W.3d 781, 814 (Tex. App.—Austin 2017, pet. filed)
(TCPA dismissal of intentional infliction claim required “regardless of the success or failure of alternative claim”
because “the facts that [he] bases this claim on are the same facts that he bases his defamation claim on”).
50
     Tex. Civ. Prac. & Rem. Code § 27.001(3).
51
     Id. at § 27.001(1) (emphasis added).



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public official or public figure”; or “a good, product, or service in the marketplace.” 52

Publications involving criminal accusations such as the account of Plaintiff’s arrest, trial, and

conviction in The Blood of Patriots, are matters of public concern and thus, are protected

expressions pursuant to the TCPA. 53 Moreover, the other themes in The Blood of Patriots—

Second Amendment rights, 54 citizen militias, 55 the sovereign citizen movement, 56 and

Republican Party politics in Alaska 57—are issues of public concern because they relate to

government. 58 Even assuming, arguendo, that the Court finds the absence of a public concern,

the TCPA nevertheless applies because Plaintiff is a public figure or limited-purpose public

figure, as argued in BenBella’s 12(b)(6) Motion. 59




52
  Id. at § 27.001(7) (A) – (E); see also id. at § 27.011(b) (instructing that these identified matters of public concern
be “construed liberally.”).
53
   See Cox Broadcasting Corp. v. Cohn, 420 U.S. 469, 492 (1975) (“The commission of crime, prosecutions
resulting from it, and judicial proceedings arising from the prosecutions, however, are without question events of
legitimate concern to the public”); Vu v. Vu, No. CV H-16-0366, 2016 WL 3181168, at *4 (S.D. Tex. June 3, 2016)
(dismissing defamation claims against a newspaper defendant based on an article regarding the death of a local
teenager and subsequent arrest of the suspected murderer pursuant to the TCPA because the article “relate[d] to the
issue of public safety, which is a matter of public concern.”); Williams, 2014 WL 2611746, at *1-2 (in a case of
diversity jurisdiction, dismissing pursuant to the TCPA defamation claims against a broadcaster and publisher based
on a report of allegations of criminal acts of a sexual nature by a teacher because the teacher’s criminal and sexual
acts were a matter of public concern); Watson v. Hardman, 05-15-01355-CV, 2016 WL 3626091, at *5 (Tex.
App.—Dallas July 6, 2016, no pet.) (holding that the TCPA applied to allegations that an individual stole money
from an estate, which related to community well-being); Deaver v. Desai, 483 S.W.3d 668, 673 (Tex. App.—
Houston [14th Dist.] 2015, no pet.) (holding that the TCPA applied to accusations of identity theft, which related to
economic and community well-being).
54
     See, e.g., Doc. 10 at App. 42, 91, 142, 254.
55
     See, e.g., Doc. 10 at App. 66, 67, 98, 105, 118, 147, 151, 158, 159, 160, 165, 186, 234, 235.
56
     See, e.g., Doc. 10 at App. 138, 146, 148, 198, 213, 246.
57
     See, e.g., Doc. 10 at App. 75, 76, 78, 81, 82, 84, 89, 101, 102, 179, 186.
58
 Williams, 2014 WL 2611746, at *4 (statements relating to teacher licensing were protected under the TCPA as a
matter of public concern because they relate to government).
59
  See Doc. 10 at 15-16; see also WFAA v. McLemore, 978 S.W.2d 568, 571-573 (Tex. 1998); (a plaintiff can
become a public figure by “choosing to engage in activities that necessarily involved increased public exposure and
media scrutiny.”).



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D.             Plaintiff’s Defamation, Defamation Per Se, Defamation by Implication, and
               Intentional Infliction of Emotional Distress Claims Fail Because they are Time
               Barred

               As noted in BenBella’s Rule 12(b)(6) motion, Plaintiff’s defamation, defamation per se,

and defamation by implication claims are based entirely on the September 19, 2017 publication

of The Blood of Patriots. These claims fail because they are time-barred under Texas’s one-

year statute of limitations. 60 Even if they had been timely filed, Plaintiff’s defamation claims

fail because the Complained of Statements are substantially true and privileged. 61 For the same

reasons, Plaintiff cannot rely on alleged the defamation by BenBella to support his intentional

inflection of emotional distress claim, which is based on his defamation claims. 62

E.             Plaintiff Cannot Establish by Clear and Specific Evidence a Prima Facie Case for
               Each Element of His Claims

               1.    The Deficiencies in Plaintiff’s Defamation Claims Require the Dismissal of
                     Those Claims and All other Claims Based on Alleged Defamation

               Because BenBella has shown that Plaintiff’s claim is subject to the TCPA, the burden

shifts to Plaintiff to establish “by clear and specific evidence a prima facie case for each essential

element” of his claim. 63 The elements Plaintiff must provide clear and specific evidence of for

his defamation claim are: (1) the statements made by BenBella are materially false statements of

fact; (2) of and concerning the Plaintiff; (3) published with actual malice; (4) resulting in

damages; and (5) no privileges apply. 64                  Plaintiff cannot meet this burden because the

Complained of Statements are true or substantially true, 65 privileged, made without actual

60
     See Doc. 10 at 10-11.
61
     See id.
62
     See Doc. 10 at 21-22.
63
     Tex. Civ. Prac. & Rem. Code § 27.005(c).
64
  See McLemore, 978 S.W.2d at 571; KTRK v. Robinson, 409 S.W.3d 682, 689 (Tex. App.—Houston [1st Dist.]
2013, pet. denied); Avila v. Larrea, 394 S.W.3d 646, 657 (Tex. App.—Dallas 2012, pet. denied).
65
     See Exhibit 2 for chart summarizing the truth of the Complained of Statements, as supported by evidence.



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malice, and no damages resulted from the broadcasts, as opposed to Plaintiff’s underlying,

criminal behavior. Although here, there are several essential elements of his claim for which

Plaintiff cannot provide clear and specific evidence, even if only one element cannot be proven,

the Court must grant BenBella’s Motion.

                   a.       Plaintiff Cannot Meet His Burden to Show the Statements at Issue Are
                            Defamatory in Nature or Materially False

           The plaintiff bears the burden of proving falsity when the alleged defamatory statements

were made by a media defendant over a matter of public concern. 66 A statement is defamatory if

it tends to injure the subject’s reputation, to expose him to public hatred, contempt, ridicule, or

financial injury, or to impeach his honesty, integrity, or virtue. 67 A statement may be false,

abusive, unpleasant, or objectionable without injuring a person’s reputation such that it is

defamatory. 68

           Furthermore, to defeat a TCPA motion, Plaintiff’s burden of “a showing of falsity

require[s] more than minor inaccuracies in the alleged defamatory statements.” 69 A plaintiff

must prove that the statements were substantially or materially false—meaning the alleged

defamatory statement had to have been more damaging to the plaintiff’s reputation, in the mind

of the average reader, than a truthful statement would have been. 70 In other words, if the truth

about the person would injure their reputation just as much as the allegedly defamatory


66
  See, e.g., KBMT Operating Co. v. Toledo, 492 S.W.3d 710, 713–14 (Tex. 2016); McIlvain v. Jacobs, 794 S.W.2d
14 (Tex. 1990) (in lawsuits against media defendants, the plaintiff’s burden of proving falsity is imposed by
“constitutional considerations of free speech and free press.”).
67
     Blanche v. First Nationwide Mortg. Corp., 74 S.W.3d 444, 456 (Tex. App.—Dallas 2002, no pet.).
68
     See Double Diamond, Inc. v. Van Tyne, 109 S.W.3d 848, 854 (Tex. App.—Dallas 2003, no pet.).
69
   Newspaper Holdings, Inc. v. Crazy Hotel Assisted Living, Ltd., 416 S.W.3d 71, 83 (Tex. App.—Houston [1st
Dist.] 2013, pet. denied) (reports of investigations and allegations of abuse in a nursing home were substantially
true, despite the media defendant’s “immoderate word choice”).
70
 McIlvain v. Jacobs, 794 S.W.2d at 16; KTRK Television v. Felder, 950 S.W.2d 100, 105-106 (Tex. App.—
Houston [14th Dist.] 1997, no writ).



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statement, then the statement is not defamatory. 71 A publication “with specific statements that

err in the details but that correctly convey the gist of a story is substantially true.” 72 All of the

Complained of Statements are true or substantially true. Complained of Statements 1, 2, 3, 4, 13,

and 15 are not defamatory because in the eyes of a reasonable person reading The Blood of

Patriots, they are less injurious to Plaintiff’s reputation than his convictions for multiple counts

of illegal possession of weapons and conspiracy to murder an Officer of the United States. 73

                      b.    The Complained-of Statements are Opinions and Not Objectively
                            Verifiable

            Some of the Complained of Statements are not objectively verifiable, and thus not

capable of a defamatory meaning. Libel must be based on false statements of fact which are

“objectively verifiable.” 74 Texas law “focuses the analysis on the statement’s verifiability and

the entire context in which it was made.” 75 Like the test for defamatory meaning, a verifiability

analysis under Texas law uses the reasonable person standard. 76

            Johnson v. Phillips, in which an attorney was sued for libel based on a book he wrote

about a lawsuit he had tried, 77 is an instructive application of the verifiability standard. The book

at issue in Johnson recounted allegations made in the lawsuit, which family members involved in

the litigation claimed were defamatory. Even though the allegations were republished outside


71
   Basic Capital Mgmt., Inc. v. Dow Jones & Co., 96 S.W.3d 475, 482 (Tex. App.—Austin 2002, no pet.). (If “[t]he
taint of the alleged defamatory statement is . . . no greater in the mind of the average reader than a more exacting
truthful statement would have been,” it is not defamatory.)
72
  Neely v. Wilson, 418 S.W.3d 52, 63-64 (Tex. 2013) (citing Turner v. KTRK Television, Inc., 38 S.W.3d 103, 115
(Tex. 2000) (emphasis added)).
73
     See Exhibit 2.
74
     Morris v. Blanchette, 181 S.W.3d 422, 424 (Tex. App.—Waco 2005, no pet.).
75
  Bentley v. Bunton, 94 S.W.3d 561, 581 (Tex. 2002) (applying reasonable person test in analyzing the verifiability
of an allegedly defamatory statement).
76
     Id. at 579.
77
  Johnson v. Phillips, 526 S.W.3d 529, 536-38 (Tex. App.—Houston [1st Dist.] 2017, pet. filed), reh’g overruled
(Sept. 7, 2017).



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the courtroom, the court affirmed dismissal because “a defendant cannot be liable for presenting .

. . an account of a trial in which communications are judicially privileged, regardless of what

someone may infer from the account.” 78 The lawyer has a “right to share his perspective on the

trial and related events,” and “the First Amendment protects an author’s analysis, insight, and

gloss on such events, because a reasonable reader is able to make his own judgments about the

evidence and would expect participants in the trial to have particular viewpoints.” 79 Because the

First Amendment protects the “rhetorical hyperbole and imaginative expression that enlivens

writers’ prose,” an author with first-hand knowledge is not required “ ‘to provide only dry,

colorless descriptions of facts, bereft of analysis or insight’ to avoid a claim of defamation.” 80

            By analogy to Johnson, a reasonable reader of The Blood of Patriots would understand

that Defendant Fulton had first-hand knowledge of the FBI’s investigation of Plaintiff, his arrest,

the evidence and arguments presented at trial , and his conviction, and Fulton was presenting his

own “analysis, insight, and gloss” on those topics in the book. 81 Complained of Statements 1, 2,

4, 5, 6, 11, 14, 15 are not defamatory because they are not objectively verifiable, or represent

Defendant Fulton’s “analysis, insight, and gloss” on the events described therein. 82

                      c.      Plaintiff’s Claims Fail Because They are Premised on A Privileged
                              Report of Judicial Proceedings and Matters of Public Concern

             In addition to requiring dismissal if the non-moving party fails to meet his burden, the

 TCPA requires a court to dismiss a legal action against the moving party if the moving party

 “establishes by a preponderance of the evidence each essential element of a valid defense to

78
     Id. at 538 (citing Turner, 38 S.W.3d at 114 and James v. Brown, 637 S.W.2d 914, 916 (Tex. 1982)).
79
     Id. at 537 (emphasis added).
80
     Id. (internal citations and quotations omitted).
81
  Id.; see also Newspaper Holdings, Inc. v. Crazy Hotel Assisted Living, Ltd., 416 S.W.3d 71, 84-86 (Tex. App.—
Houston [1st Dist.] 2013, pet. denied) (newspaper’s “immoderate word choice” describing an investigation into a
nursing home as a potential case of “elder abuse” not sufficiently departing from the facts to be false or defamatory).
82
     See Exhibit 2.



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 the claim.” The absence of privilege is also an essential element of a defamation claim. 83

             The Complained of Statements are privileged as a reasonable and fair comment on

 both a judicial proceeding and matter of public concern pursuant to common law, 84 Tex. Civ.

 Prac. & Rem. Code §73.002, and the privileges of free speech and free press found in Article

 I, Section 8 of the Texas Constitution and the First and Fourteenth Amendments to the United

 States Constitution. 85 Texas law protects statements that are: (1) fair, true and impartial

 accounts of judicial proceedings, and (2) other matters of public concern published for general

 information. 86 The use of the phrase “fair, true and impartial” in §73.002 has been construed

 to mean “substantially true.” 87 The statutory privilege has generally been applied in Texas to

 many forms of print and broadcast media. 88 The fair report privilege in §73.002 specifically

 applies to BenBella, as a “publisher[ ] of traditional books.” 89

             As discussed, supra, The Blood of Patriots is an account of Plaintiff’s arrest, trial, and

 conviction, which are matters of public concern. Because the statements at issue in the Blood

83
  Tex. Civ. Prac. & Rem. Code §27.005; Fitzmaurice v. Jones, 417 S.W.3d 627, 632 (Tex. App.—Houston [14th
Dist.] 2013, no pet.) (dismissing a defamation claim because the statements at issue were privileged).
84
  See Howell v. Hecht, 821 S.W.2d 627, 632 (Tex. App.—Dallas 1991, writ denied); Goss v. Houston Cmty.
Newspapers, 252 S.W.3d 652, 655 (Tex. App.—Houston [14th Dist.] 2008, no pet.).
85
   See Langston v. Eagle Printing Co., 797 S.W.2d 66, 70 (Tex. App.—Waco 1990, no writ) (Where a news article
is a substantially true account of court proceedings, “the First Amendment precludes attaching any liability to their
publication.”); Granada Biosciences, Inc. v. Forbes, Inc., 49 S.W.3d 610, 619 (Tex. App.—Houston [14th Dist.]
2001) rev’d on other grounds, 124 S.W.3d 167 (Tex. 2003).
86
     Tex. Civ. Prac. & Rem. Code § 73.002.
87
     Herald-Post Publishing Co., Inc. v. Hill, 891 S.W.2d 638 (Tex. 1994).
88
  See, e.g., Traweek v. Radio Brady, Inc., 441 S.W.2d 240 (Tex. App.—Austin 1969, writ ref’d n.r.e.) (applying
§73.002 to radio broadcasts); Maxwell v. Henry, 815 F.Supp. 213 (S.D. Tex. 1993) (applying §73.002 to television
broadcasts); Crites v. Mullins, 697 S.W.2d 715 (Tex. App.—Corpus Christi 1985, writ ref’d n.r.e.) (applying
§73.002 to news articles accessible by telephone); Kaufman v. Islamic Soc’y of Arlington, 291 S.W.3d 130 (Tex.
App.—Fort Worth 2009, pet. denied) (applying §73.002 to internet articles).
89
  Main v. Royall, 348 S.W.3d 381 (Tex. App.—Dallas 2011, no pet.) (holding interlocutory appeal process applying
to claims of privilege under § 73.002 was applicable to a book publisher); see also Liles v. Finstad, No. 01-94-
00258-CV, 1995 WL 457260 * 5-6 (Tex. App.—Houston [1st Dist.] 1995, writ denied) (assuming without holding
that § 73.002 applied to book publishers); Harvest House Publishers v. Local Church, 190 S.W.3d 204 (Tex. App.—
Houston [1st Dist.] 2006, pet. denied), cert. denied, 127 S.Ct. 2987 (2007) (book publisher and author were
members of “print media”).



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 of Patriots are protected by a qualified privilege, Plaintiff cannot defeat that privilege without

 proving actual malice, which he cannot do.

                    d.         Plaintiff is a Public Figure and Cannot Recover for Defamation without
                               Establishing that BenBella Acted with Actual Malice

            Because BenBella’s publication of The Blood of Patriots is protected by a qualified

privilege, and because Plaintiff is a public figure, Plaintiff cannot defeat these privileges unless

he can prove actual malice by BenBella, a media defendant. 90 Furthermore, a public figure

defamation plaintiff confronted with a TCPA motion is required to prove that defendants acted

with actual malice under the heightened standard of clear and specific evidence. 91 “Actual

malice” means not ill will, but publication of a false statement knowing the statement was false,

or with reckless disregard as to the truth of the statement. 92 “Reckless disregard” is not

sloppiness, but rather that the publisher in fact acted with awareness of the statement’s probable

falsity. 93 Failure to investigate the truth or falsity of a statement before it is published is

insufficient to show actual malice. 94 Moreover, a publisher’s profit motive does not support a

finding of actual malice. 95

            BenBella’s uncontroverted testimony establishes Defendant believed the Complained of

Statements were true at the time The Blood of Patriots was published. 96                     No prima facie

evidence exists which could show that BenBella reasonably should have known the statements in

90
  NYT v. Sullivan, 376 U.S. 254 (1964); Gertz v. Welch, 418 U.S. 323 (1974); Curtis Publishing Company v. Butts,
388 U.S. 130 (1967); Casso v. Brand, 776 S.W.2d at 551, 557 (Tex. 1989).
91
  Avila v. Larrea, 394 S.W.3d 646, 657 (Tex. App.—Dallas 2012, pet. denied) (noting the standard and reversing a
denial of an anti-SLAPP motion); see also Combined Law Enforcement Ass’n of Texas v. Sheffield, 2014 WL
411672 (Tex. App.—Austin, January 31, 2014, no pet. h.) (reversing a denial of an anti-SLAPP motion and noting
that Plaintiff failed to produce evidence of actual malice, one of the elements of his defamation claims).
92
     Gertz, 418 U.S. at 334.
93
     Id. at 332.
94
     Id.
95
     See Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 667 (1989).
96
     See Exh. 1, Declaration of Glenn Yeffeth.



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The Blood of Patriots were false. Plaintiff’s Complaint suggests that Mr. Fulton was motivated

by personal hatred of Plaintiff due to Plaintiff’s rejection of Defendant Fulton’s sexual

overtures. 97 However, he makes no similar allegations of defamatory motive by BenBella, and

conclusory allegations are not evidence. 98

                     e.       Plaintiff is Libel-Proof and Has Suffered No Damages

            Plaintiff cannot establish damages resulting from The Blood of Patriots. Before the book

was published, Plaintiff had already been tried and convicted of multiple counts of illegal

possession of weapons and conspiracy to murder an Officer of the United States. 99 Thus, it

would be impossible to measure the incremental reputational harm, if any, caused by publication

of the book. Plaintiff cannot tie any damages to the book, as opposed to his own misconduct or

other media reports; therefore, he cannot establish an essential element of his claim. 100 Nor can

Plaintiff bootstrap damages through his per se claim because he cannot demonstrate the material

falsity of the Complained of Statements. 101

            Furthermore, Plaintiff’s criminal record and the activities for which he was arrested,

tried, and convicted, were widely known in the community before publication of The Blood of

Patriots. 102 As a result, Plaintiff’s reputation for criminal behavior was so poor it could not have

suffered damages from the publication of the book. In applying the libel-proof plaintiff doctrine,
97
     See Complaint at § 26.
98
  See Fawcett v. Grosu, 498 S.W.3d 650, 663 (Tex. App.—Houston [14th Dist.] 2016, pet. denied) (reversing denial
of TCPA dismissal because beyond “conclusory allegations about a failure to investigate, there is no other clear and
specific prima facie evidence that the allegations of racism were made negligently.”).
99
     See Doc. 10 at n. 17.
100
   See Lipsky, 460 S.W.3d at 593 (concluding “general averments of direct economic losses and lost profits, without
more” did not satisfy minimum requirements of TCPA respecting damages element of business disparagement
claim); Camp v. Patterson, No. 03-16-00733-CV, 2017 WL 3378904, at *8 (Tex. App.—Austin Aug. 3, 2017, no
pet.) (concluding plaintiff’s affidavit testimony that defendant’s accusations “have negatively impacted my ability to
start my own business and earn a living” did not amount to clear and specific evidence of damages element of
tortious interference with prospective business relations claim).
101
      See generally Exhibit 2.
102
      See Doc. 10 at n. 89.



                                                         17
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“where there is no reputation it cannot be damaged and without damage to reputation there is no

actionable defamation.” 103             The libel-proof plaintiff doctrine also applies when a plaintiff

challenges statements that are substantially less damaging to his reputation than other

unchallenged statements in the same communication. 104 Here, Plaintiff is a convicted felon.

Yet, he takes issue with being described as drinking a single beer or claiming to be innocent

during his arrest. 105 The bottom line is that Plaintiff is “libel proof as to that area of his character

touched by the challenged communications” 106—in this case, Plaintiff’s criminal behavior,

which is the subject matter of The Blood of Patriots.

            2.      Plaintiff’s Misappropriation Claim Must Be Dismissed for Failure to Submit
                    “Clear and Specific” Evidence to Support Each Essential Element

            As noted in BenBella’s Rule 12(b)(6) motion, Plaintiff cannot support the elements of

his misappropriation of name and likeness claim because: (1) the subject matter of The Blood

of Patriots is Plaintiff’s (partial) life story, which his not protected as his “name and likeness”;

(2) the subject matter of The Blood of Patriots was a public concern; and (3) Plaintiff willingly

put his image into the public domain prior to the publication of the book. 107                         BenBella

incorporates by reference those arguments in full herein. The same deficiencies also require

dismissal under the TCPA. Moreover, even if Plaintiff has sufficiently pled his claims, those

claims must still be dismissed unless Plaintiff comes forward with “clear and specific”

evidence to support each essential element of those claims. Because he cannot satisfy this

burden, Plaintiff’s claims must be dismissed.


103
      Finklea v. Jacksonville Daily Progress, 742 S.W.2d 512, 517 (Tex. App.—Tyler 1987, writ dism’d w.o.j.)
104
      Id.
105
      See Complaint at ¶¶ 29, 33, 35.
106
      Finklea, 742 S.W.2d at 517.
107
      Doc. 10 at 23-24.



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                                     IV.    PRAYER

      For the reasons discussed above, Defendant BenBella Books respectfully requests that:

      a.     the Court grant this motion and dismiss Plaintiff’s claims against Defendant

             BenBella Books with prejudice;

      b.     the Court award BenBella Books fees, costs, and expenses, along with sanctions;

             and

      c.     the Court award and award all such other relief to which it is justly entitled.

Dated: March 11, 2019                               Respectfully submitted,


                                                    /s/ Michael A. McCabe
                                                    Michael A. McCabe
                                                    Texas State Bar No. 24007628
                                                    mmccabe@munckwilson.com
                                                    Lauren L. Mitchell
                                                    Texas State Bar No. 24071172
                                                    lmitchell@munckwilson.com
                                                    MUNCK WILSON MANDALA, LLP
                                                    600 Banner Place Tower
                                                    12770 Coit Road
                                                    Dallas, Texas 75251
                                                    Telephone: 972-628-3600
                                                    Telecopier: 972-628-3616

                                                    ATTORNEYS FOR DEFENDANT
                                                    BENBELLA BOOKS, INC.




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                                CERTIFICATE OF SERVICE

         I hereby certify on this 11th day of March, 2019, that a true and correct copy of the

foregoing was served on all counsel of record via electronic mail pursuant to Fed. R. Civ. P.

5(b)(2)(e).


                                                   /s/ Michael A. McCabe
                                                   Michael A. McCabe




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